Case 1:17-mc-00414-GBD-SN Document 12 Filed 01/17/18 Page 1 of 10
Case 1:17-mc-00414-GBD-SN Document 12 Filed 01/17/18 Page 2 of 10
Case 1:17-mc-00414-GBD-SN Document 12 Filed 01/17/18 Page 3 of 10
Case 1:17-mc-00414-GBD-SN Document 12 Filed 01/17/18 Page 4 of 10
Case 1:17-mc-00414-GBD-SN Document 12 Filed 01/17/18 Page 5 of 10
Case 1:17-mc-00414-GBD-SN Document 12 Filed 01/17/18 Page 6 of 10
Case 1:17-mc-00414-GBD-SN Document 12 Filed 01/17/18 Page 7 of 10
Case 1:17-mc-00414-GBD-SN Document 12 Filed 01/17/18 Page 8 of 10
Case 1:17-mc-00414-GBD-SN Document 12 Filed 01/17/18 Page 9 of 10
Case 1:17-mc-00414-GBD-SN Document 12 Filed 01/17/18 Page 10 of 10
